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 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, JONATHAN M. CHAPMAN
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )        CASE NUMBER: 1:07-cr-00192-AWI
                                                   )
11                         Plaintiff,              )
                                                   )        STIPULATION AND ORDER FOR A
12   v.                                            )        RESETTING OF HEARING ON REPORT
                                                   )        OF PROBATION OFFICER
13   JONATHAN M. CHAPMAN,                          )
                                                   )
14                         Defendants.             )
                                                   )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows:
19                 Probation Report Available to Defense Counsel: move from February 28,
                   2011 to April 4, 2011.
20
21                 Defense Counsel’s Informal Objections due to Probation and AUSA:
                   move from March 14, 2011 to April 18, 2011.
22
23                 Formal Objections must be filed with the Court and served on Probation
                   and AUSA: move from March 28, 2011 to May 2, 2011.
24
25                 RPO Hearing: move from April 4, 2011 at 9:00 a.m. to May 9, 2011 at
                   9:00 a.m.
26   ///
27   ///
28   ///
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 1         The reason for moving the hearing is because defense counsel has been out of town and will be
 2   out of town doing interviews in the matter of U.S. v. JAMES NINETE LEON GUERRERO, Case No.:
 3   1:08-CR-00259-OWW and needs further time to prepare for sentencing.
 4                                                     Respectfully submitted,
 5
 6   DATED: February 24, 2011                           /s/ Salvatore Sciandra
                                                       SALVATORE SCIANDRA
 7                                                     Attorney for Defendant,
                                                       JONATHAN M. CHAPMAN
 8
 9
10   DATED: February 24, 2011                          /s/ Kathleen Servatius
                                                       KATHLEEN SERVATIUS
11                                                     Assistant United States Attorney
12
13                                               ORDER
14
     IT IS SO ORDERED.
15
16   Dated:   February 24, 2011
     0m8i78                                           CHIEF UNITED STATES DISTRICT JUDGE
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